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               [noise]

WC:            Fuck yeah, I’m okay. [noise] [pause]

               [UI]

WC:            A co--y--‘cause yeah, what we did, we stormed the Capitol Building, we rushed
               that shit, we took that house back. [noise]

               [UI]

WC:            We’re on our way back. We’re on our way back, uh--to the house of--[noise]

               [UI]

WC:            Yeah, but me and two others [noise], we were first ones through the gate. We
               lead everybody in [laughter]. We lead them--lead them, not let them. [noise]
               [pause]

               [UI]

WC:            Okay, uh--absolutely! [noise]




[noise]

[End of recording]




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              Hello?

WC:           Hi,

              Hi.

WC:           Oh . . . shit! I am sore--

              [OV] What?

WC:           --and I’m tired.

              Oh. You sound scratchy, you been yelling?

WC:           Th--[noise] that and fucking uh--CS gas and pepper spray. I boxed a--

              [OV] [UI] that.

WC:           --I boxed a cop. I got--part of his uh, fucking uh, body armor, cause I thought he
              was attacking one of our boys, turns out it wasn’t one of our boys, some other
              fucking dickhead had uh . . . orange tape on his, uh--[noise] he-helmet, but
                      anyways, the cop was being kind of a dick. Uhm . . . [pause] it w--it was
insane. It                   was insane and you know wha--you know what happened today?
Because o--

              [OV] No.

WC:           --because of, uh, we stor--we stormed the Capitol Building and we took it over.
              They’re sti--they’re still in there do--uh, doing shit . . . [pause] refusing to leave.
              We made, uh--fucking uh--the House leave. Like, they couldn’t--

              [OV] [UI]

WC:           --finish their vote.

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           [noise]

           [UI]

WC:        [OV] We--[pause] but--that hasn’t been done [noise] since 1850.

           Yeah.

WC:        [noise]

           No, I wanted to call you back,                                                I
           wanted to like, know what it--what happened.

           [pause]

WC:        Yeah, that’s--

           [noise]



WC:



WC:        Oh, yeah. [noise] No,              when I show you the videos, you’re gonna be
           like, “Holy fuck!” This started the rev--

           [OV] So it was--

WC:        [OV] No,

           [OV] chaos?

WC:        --Oh yeah, no--it was--it was different than chaos. We t--[noise] like--the
           people took control--




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WC:        But, uhm . . . but, no,             we took-we-we took over the fucking uh--the
           Capitol Building.

           Okay, so it was chaos in a different way, cause, every--            made it out
           like it was chaos, like the BLM, like--

WC:        [OV] Mm.

           --cop cars were being flipped over and they were [UI]--

WC:        [OV] No, no, they--we took over the State Capitol. I mean the uh--uh, Federal
           Capitol Building. [pause]



WC:

                                                 I was like, “Are you watching all the--all the
           chaos, [UI] are you watching it?”

WC:        Fuck--fuck, yeah!

           [OV] “Maybe.”

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WC:        It needed to happen. And uh--

           [OV] [UI]--

WC:        [OV]--because--




WC:        [OV] That was--



WC:        --that was wh--that was what was going on--[noise] on-on-on the floor.

           [noise]

           [pause]

           So, when you say you boxed a cop, you mean like, you fought a cop?

WC:        Yeah. [noise]

           I’m [UI] you didn’t get arrested. [noise]

WC:        Dude, they-they were--

           [OV] You’re probably on that

WC:        [OV]--we had--we had--

           [OV] do-not-fly--

WC:        [OV]--we had--we had--

           [OV] list anyway.

WC:        [OV]--total control of-of everything in there.

           [pause]

           [noise]

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           You’re probably on a do-not-fly list,

WC:

           [OV] They probably think--

WC:        [OV]               you know, how--

           [OV] you’re a terrorist. [noise]

WC:        --you--you know how they were trying to get a million people there? [noise]
           [pause] I think there were--

           [OV] Yeah--

WC:        --like, two million people there. There were--

           [OV] Really?

WC:        Oh, my God! Oh . . . my God!--

           [OV] [UI]

           [noise]

WC:        and . . . they a--they all followed us, Proud Boys. We-we marched [noise]
           straight--we marched straight from the uh, uh, Washington Memorial . . . all
           the--

           [OV] M-hm.

WC:        --all the way down to the, uh, Capitol Building and . . . uh--

           [OV] Pretty sure when I talked to you, you said that [noise] storming the Capitol
           was not happening. [noise]

WC:        [noise] I didn’t think it was--it was--[noise] it wasn’t planned, sweetheart.

           [noise]

           [UI] [noise] Is it true that the Proud Boy guy, the lead got arrested and got told
           [noise] not to come to DC? [noise]

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WC:          Yeah, well, that’s--[noise] what started all this shit. [noise] Cause he got
             arrested for bullshit. For burning a--a Black Lives Matter banner--

             [OV] [UI]

WC:          --[noise] that was just hanging on a fence. You know what I mean? And he didn’t
      even do it. It was just other Proud Boys--

             [OV] Like, people were burning American flags--

WC:          --e-exactly--

             [OV] [UI]

WC:          --and they’re taking them [noise] out of people’s hands, which is actually private
             property, you know?

             Yeah.

WC:            But it--what happened was, a bunch of Proud Boys got tired of it and they--
               they tore down a-a paper BLM uh, [noise] homemade, bullshit banner that
      somebody just left hanging on a--on a fence. They tore it down and they burned
      it. [pause] [noise] [unintelligible background conversation] And--[noise] and
      so--they fucking--you know what I mean? But, what happened was, everybody
      got so pissed [noise] and then, uh, when we heard that, [noise] uh--that--what’s
      his name? Our piece of shit Vice President Pence was gonna cuck under [noise]
      and . . . not do the right thing [noise] with the votes, we wa--uh, we decided to
      head down to the--uh, back down to the Capitol. ’cause we circled it, and then we
      walked past it, and then we walked down the street and then--

             [OV] Yeah.

WC:          --[noise] so we walked back to the Capitol Building. [noise] And . . . uh, we went
             up to the fence and the first fence that was up there--bunch of people were
             standing against it, yelling at the cops, the cops started getting nervous and then--
             so I kicked the fence, I said, uh--uh--“We wan--we wanna talk to the fucking
             House right now!” [noise] And . . . all these people started yelling and, uhm, I
             kicked the fu-fucking fence again. Me and this fi--uh, five-foot l--little twenty-
             year-old girl and her brother that uhm--were palling around with me, because they
             knew somebody in the Proud Boys, but they couldn’t find them. So, they wanted
             to hang--


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           [OV] Yeah.

WC:        [OV]--you know what I mean? They--they were there with them, but they got--
           they got--cut off. So, they hung with me for like the entire thing, because--you
           know what I mean, all they knew was that the Proud Boys would take care of
           them and--

           [OV] Yep.

WC:        [OV]--when I kicked that fence, holy shit, those two just lunged at the fence,
           dude. We-- knocked it down and everybody rushed.

           Wow! [noise] I’m surprised the cops didn’t automatically start shooting you
           guys.

WC:        Oh, no. No, no, no, no! [pause] That’s what people think, they don’t--they think,
           “They don’t have control.” We had total control.

           [pause]

                             you should see the news here. [noise]

WC:        [noise]

           They went--

WC:        [OV] [noise]

           [OV]--downtown to the Plaza to ask--

WC:        [OV] [noise]

           [OV]--random people their opinion [noise] and it’s all like--people--

WC:        [OV] Well, yeah, they’re only gonna show the bad--

           [OV]--with Black Lives Matter masks and--

WC:        [OV] Yeah.

           [OV]--gay guys. I’m like, “Really?”

           [unintelligible background conversation]

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WC:        Yeah. [noise] [pause] It’s crap.

           But you’re not going back, are you?

WC:        No, we’re done, we’re done for the night, we’re in.

           [OV] Okay.

WC:        And they got the whole uh, Washington DC area on lockdown right now [noise].
           Curfew until s--

           [OV] [UI] the 6 PM curfew.

WC:        Yeah . . . But, uhm . . . [noise] I--I fucking started it

           That’s cool.

WC:        Yeah, I started a revolution. Because--[noise] once everybody heard about this,
           and then uh, we cleared out the House--[noise] uh, they evacuated the House and
           everything, to stop those votes. So the votes stopped, and then, uh . . . uh, when
           word of it got out, on the news [noise] people--uh, patriots in [noise] Georgia
           went and stormed the uh--[noise] the Capitol Building in Georgia, where all the
           votes were stolen and shit.

           [OV] Yeah, they stormed Topeka as well--

WC:        [OV]--and Topeka and--

           [OV] and Jefferson City.

WC:        Yeah--J--oh, Jefferson City, too?

           Yeah.

WC:        And in Oregon. So, four State Capitols that--[UI] I know of now, got stormed too
           because of this.

           Yeah.

WC:        Now, I--                 fucking [noise] fired the first shot, man [laughter].

           [noise]

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           [noise]

WC:        [OV] Oh, well, yeah, I was--

           [OV]--those damn super--

WC:        [OV] all over--

           --no. There was a guy in a Superman outfit with a Trump mask on. I was like,
           [UI]--

WC:        [OV] No, no, that wasn’t me--

           [noise]

WC:        --I was wearing a bla--uh, I was wearing a black hoodie, uhm, green body armor
           and most of the time I was wearing eit-either a black ball cap or a black beanie,
           uh, but--once we got up in there and we were, uh--[noise] uh . . . fucking with the
           cops [noise] and stuff, [noise] I uh--went and put my uh . . . uh, helmet on.
           [noise]

           I wanna see you in your body armor.

WC:        Oh, I took tons of videos, [noise] you’re gonna see it. [noise]

           Yeah, I’m excited.

WC:        Yeah, it was awesome.

           So, um--

WC:        [OV] Uh, the government even said, uh [stammers] this was the start of
           the revolution. [noise] [pause]

           Yeah?

WC:        Yup! I knew--I knew we were going down there and s--witness history, I just
           didn’t realize, you know . . .

           It was just like--

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WC:        [OV] It--w-we were gonna make it. [laughter] Fucking--I’m so--[UI] [noise]
                      I am so excited. [noise] I mean, that--[noise]




WC:        [SC] What’s up? [SC]

           [pause]



WC:        [OV] Yeah. [noise]

           --and I . . . mentioned, I was--I was like--

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WC:        [OV] Don’t tell any--don’t tell anybody the details. I’m seri--no, I’m serious.

           No, I didn’t.

WC:        Okay, ’cause they’re probably gonna start sca--combing through video and
           looking for--you know what I mean?

           Yeah. But uh--[noise] I mentioned that you were there, like, not even thinking
           about it, and she just looks at me and says--



           [OV] “Is            a Proud Boy?”

WC:        [OV] [laughter]



           [OV] And I was like, “You know what? Yeah, he is.”



           [pause]

           [noise]

           I was like [UI]--

                                                                     .

           But I was--I was like, “You know what?” [noise] “Yeah, he is.” And . . .
               goes, “Really?” I’m like, “Yeah, [noise] he is.”

WC:        [noise]--

           [OV] And        goes--

WC:              you don’t have to tell people that.

           [UI] I’ve ever seen of them [noise] Well, no--I’m just--you know . . . I was like,
           “Yeah, you know, he is.”
                                “Oh, if anyone’s in riot, it’s gonna be a Proud Boy.”

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WC:        You know what--you--you know what happens when we were there today?
           [noise] Before all this shit started--[noise] [pause] people were--uh, patriots from
           all over the country--no bullshit, coming up askin’, “Are you guys Proud Boys?”
           And we’re like, “Uh, yeah!” And they go, “Oh, my God, could we get our
           pictures taken with you guys? You guys are great!” Uh--they were treating us like
           fucking rock stars! They--uh, giving us water and all kinds of other--you know
           what I mean? Drinks, y--whatever, [noise] you know--

           [OV] Yeah.

WC:        --trying to offer stuff all the time [noise]. We’re like, “No, no, no, it’s not about
           that [UI] [noise] Thank you guys for coming out and helping us!” You know?
           And . . . uhm, I’m not kidding you, [noise] they were treating us like rock stars.
           And . . . one of my--

           [OV] [UI]

WC:        --




           [OV] Yeah.

WC:


                                                                             I--I go,
           “Billy Chrestman.” And goes, “Where--uh, wh--what--what chapter are you
           with?” I said, “Uh, Kansas City.”


           [OV] [UI]

WC:



           Mm-hmm--



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WC:        And then, afterwards, uhm, that was probably, [noise] uhm, about 15 minutes
           before we walked back up to the Capitol, I said--[stammers] and I asked--I-I said,
           “Uh, we’re getting ready to walk back up there, uh--do you wanna, uhm . . . go
           with us?”



           [OV] Mm-hmm.

WC:
                                                              And oh, my God, it was--it was
           effing cra--[noise] it was the craziest shit I’ve ever seen. I was like, standing
           there in awe . . . walking through the State Building, everybody running around,
           yelling, [noise] “Whose house? Our house! Whose house? Our house!” You
           know what I mean? And--

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           [OV] You enjoyed it.

WC:        --the Police were shitting bricks, they were like--you know what I mean? A--a--
           and--they tried to put the security doors up and we all shoved uh, fucking uh--
           chairs and stuff under and when some guys started getting out of hand, and started
           trying to like, loot and . . . [noise] and break shit, we’re like, “No, we--we’re not
           about that crap, [noise] you guys put that shit down. We’re not here to loot, we’re
           not here to break anything, we’re here--we’re here to uh--make a--make a
           statement--”

           [OV] That’s not good.

WC:        --Yeah. I said, “We’re not Antifa, we’re not--” a--and you know what?
           Everybody listened and we w--like--[pause] ou--out of the two million people,
           there was maybe . . . [noise] 600 Proud Boys, you know?

           Yeah--

WC:        [OV] and--

           --You know--

WC:        [OV] just because was a Proud Boy--

           --[UI]

WC:        [OV] they--they all listened--

           --[UI] [pause] [noise] What?

WC:        But, just because I was a Proud Boy everybody like listened to--“Oh, o--okay,
           sor--we’re sorry, we’re sorry, we’re sorry [stammers]” and like, “Dude--

           [OV] Yeah.

WC:        --it’s not about all that. Think about it, dude. They’re gonna paint us just as bad as
           they do BLM and--and . . . Antifa [UI], [noise] you know?”--

           [OV] Yeah, [UI] they’re--[noise] they’re calling, uh . . . ever--like, everyone--

WC:        [OV] [noise]


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           --I know on social media is saying that these are worse than the BLM riots and
           everything, I’m like--[pause] “How many rubber bullets were--were shot?--

WC:        [OV] [noise]

           --how many people were arrested?--[UI]”

WC:        [OV] Nah, one guy wh--uh--wh--uh--some people [noise] got really hurt, I
           don’t know if that lady died, but they shot a lady in the neck.

           She did.

WC:        Yeah. And then uh--

           [OV] She did die.

WC:        --they were thr--they were throwing uh--uh, concussion grenades right at us--
           [pause] one went off and blew a dude’s cheek half-off.

           [noise]

           Oh, my God!

WC:        Yeah. [noise]

           But--it was the police doing that [noise]--

WC:        [OV] Yeah!

           --because nobody went--

WC:        [OV] Yeah!

           --there to riot--

WC:        [OV] Yeah. We didn’t--

           [OV]--they went--

WC:        [OV] I--I--I fought one--

           [OV]--[UI]


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WC:        --I fought one cop--actually, we were on the cops’ side, like a lot of guys were
           trying to get crazy with the cops and we--like, stood in between them, we’re like,
           “No!” You know?--

           [OV] Yeah.

WC:        “Hey, we’re not fighting cops, we’re not doing this and that--” you know? I said,
           we will get by them, but we’re not gonna sit there and beat the crap out of them--
           and the cops were actually thanking us. You know? Thanking the Proud Boys--

           [OV] Yeah.

WC:        --and . . . uhm . . . I only fought one cop, because he was an asshole and he was--
he         was on top of a dude and I saw the orange stripe u--uh, sticker on his--helmet
           and--

           [OV] Mm-hmm.

WC:        --I thought he was one of us. He wasn’t, he was--he was a dude that was kinda
           hanging out, but he was like--I think it was a wannabe, he--he said he was from
           the--uh--

           [OV[ Yeah.

WC:                                 and shit like that, he was there by--all by himself and
           he said he wanted to hang out with us. We were like, “Well, okay, but”-- you
           know?

           Yeah.

WC:        And we kept correcting him every time, like, somebody would say something,
           he’d go, “We--“ I said, “No, you’re not a Proud Boy.” And he’d go, “Oh, w--w--
           they--

           [OV] Yeah.

WC:        --and I--” you know?

           Yeah.

WC:        But . . . [noise] o--our membership is gonna explode, people--with people
           wanting to--[pause]


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           Yeah, how did you go about that? Like, how did you--

WC:        [OV] you--you look it up online, like, look for the Proud Boys’ official website
           and then uhm . . . you--you look for the--how to join. You know what I mean?
And        then, you gotta--you gotta get in contact with the--with the--uhm . . . uh, Chapter
           Pre--President in your area, you know what I mean?

           Uh-huh.

WC:        And, uhm, it’s like a get-to-know-you thing [noise] like it--it took--

           [OV] Yeah.

WC:        --I got fast-tracked in, but it--it still took me about three months. So--some guys,
           it takes a year--

           [OV] Yeah. [noise] Oh, wow!

WC:        Yeah.

                                                 you were a Proud Boy,       like, “All I’ve
           ever seen of them is them, uhm, beating up random black people.” And I was like,
           “That’s just not--

WC:        [OV] No.

           --what it is at all. No.”

WC:        No.

           But I was like, “Can you not tell anyone?”




WC:

           --no,     said, “I’m not gonna tell anyone.”


WC:        Yeah.



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           [pause]

WC:        It was crazy. [pause] You know--and--and--like--[pause] it’s still not even like
           quite hitting me just how historic--[pause]

           Yeah--

WC:        [OV] This day was. You know what I mean?--

           [OV]--Yeah. Oh, yeah, [UI] they’re showing people are still out there.

WC:        Oh, yeah, no--th--th--they’re--there’s still a whole bunch of people in the House.
           [noise] And I’m like, “Fuck, dude.” This is--just ridiculous, ’cause we--we were
           only 600, but we had all two million people fucking following us . . . over there--

           [OV] Yeah.

WC:        --you know what I mean? And--

           [OV] Yeah.

WC:        --And . . . it started o--it started off just--[noise] just about like--[noise] eight . . .
           nine hundred people [noise] or something at first, storming the gate and then
           people [noise] saw all the ruckus and--and like the--the--flags and stuff going up
           the . . . steps and every--so, everybody started running from the Washington
           Monument over, which is about a mile away. [noise] But you could see it--

           [OV] Yeah.

WC:        --because it’s a clear shot, you know? And it’s just--

           [OV] Yeah.

WC:        --it was intense.

           That’s really cool.

WC:        But we all had--I mean, everybody had like--like--I had a [sic] axe handle and a
           lot of people had, uhm . . . sticks--and nobody hit a cop--[pause] that I’m aware
           of--

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           [OV] Yeah.

WC:        --you know what I mean? Like--

           [OV] Yeah.

WC:        --the cops were even jabbing us, [noise] like that--that little girl that wa--was--w-
           with me, the cop was trying to fucking jab her in the eye with like this--

           [OV] Yeah.

WC:        --little skinny baton. And I caught it, three times. You know what I mean?

           M-hm--

WC:        [OV] And I kept holding her back. And--she was feisty.

           Yeah.

           [noise]

WC:        I’m not gonna lie, if I was 20 years younger--[noise] you know what I mean? I--
           [laughter]--

           [OV] [laughter]

WC:        --and not married--you know?

           Right.

WC:        ’cause she w--she was fucking awesome and feisty, but--[pause] her--[UI]--
           honestly, the way I l--I looked at her and her brother,


           [OV] Yeah.

WC:        -

           Yeah.

           [pause]


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WC:        And they kept gettin’--

           [OV] I didn’t know, I was having like, a panic attack there with all those [UI]”--

WC:




           [pause]

WC:

           Yeah--

WC:        [OV] ’cause of Antifa, you know? But--[pause]

           Yeah.

WC:        We had Antifa--

           [OV] Was Antifa there?

WC:        --oh, [noise] they tried a couple--a couple of ’em tried to like, dox us in the
           morning, [noise] like taking my picture and stuff like that, and we just started, you
           know--[noise] told ‘em, “Come on over, come on over!” but they--they kept
           stayin’--standing behind the cops.

           Yeah.

WC:        Said, “You want my picture? Come on over, talk to me, I’ll give you all my
           information [noise]” You know what I mean?

KC:        Yeah.

           And . . . they wouldn’t--[noise] they wouldn’t do it.

KC:        Well . . . I’m glad you are safe. I was scared, when I--especially when I heard
           there were shots fired.

           Yeah.


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           So yeah, that lady died.

WC:        That sucks. [noise] See, I don’t know what she did to get shot, [noise] though,
           ’cause there were some people--

           [OV] Nothing.

WC:        --that were act--there was a couple of people that were acting the fool.

           [noise]

           Yeah.

WC:        And some of those--those--some of those cops were legitimately scared.

           [pause]

           [noise]

           Wait, did you--like--did that girl that was with you all day, like, leave when you
           di--guys did?

WC:        Yeah.

           Okay, it wasn’t her--

WC:        [OV] Cause I told her when we’re--No, hell no. [pause] We took ca--we all took
           care of each other, you know what I mean? Everybody from the KC Chapter--

           [OV] Okay.

WC:        --and they were--they were with us,




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